Case 1:22-cv-08300-VSB Document 39-12 Filed 10/14/22 Page 2 of 5
Case 8:21-cv-01736-TDC Document 95-29 Filed 09/06/23 Page 1 of 4




                 SESSION LAWS                  I

                            OF THE




                       FIFTEENTH



         LEGISLATIVE ASSEMBLY

                            OF THE




               TERRITORY OF ARIZONA.




         SESSION BEGUN ON THE TWENTY-FIRST DAY
                   OF JANUARY, A. D. 1889.




                                                   26
Case 1:22-cv-08300-VSB Document 39-12 Filed 10/14/22 Page 3 of 5
Case 8:21-cv-01736-TDC Document 95-29 Filed 09/06/23 Page 2 of 4


           16                    LAWS OF ARIZONA.

              SEc. 3. This Act shall take effect from and after its pass-
           age.
              Approved March 18, 1889.

           No. 12.                    AN    ACT
           Concerning the Transaction of Judicial Business on Legal Holi-
                                       days.
           Be it enacted by the Legislative Assembly of the Territory of
              Arizona:
               SACTION I.     No Court of Justice shall be open, nor shall
           any Judicial business be transacted on any Legal Holiday, ex-
           cept for the following purposes:
               I.  To give, upon their request, instructions to a Jury
           when deliberating on their verdict.
               2.  To receive a verdict or discharge a Jury.
               3. For the exercise of the powers of a magistrate in a
           criminal action, or in a proceeding of a criminal nature; pro-
           vided, that the Supreme Court shall always be open for the
           transaction of business; and provided further, that injunctions,
           attachments, claim and delivery and writs of prohibition may
           be issued and served on any day.
               SEC. 2.   All Acts and parts of Acts in conflict with this
           Act are hereby repealed.
               SEc. 3. This Act shall be in force and effect from and after
           its passage.
              Approved March 18, 1889.

           No.   13.                 AN ACT

           Defining and Punishing Certain Offenses Against the Public
                                    Peace.
           Be it Enacted by the Legislative Assembly of the Territory
               of Arizona:
               SECTION I.    If any person within any settlement, town,
           village or city within this Territory shall carry on or about his
           person, saddle, or in his saddlebags, any pistol, dirk, dagger,
           slung shot, sword cane, spear, brass knuckles, bowie knife, or
           any other kind of knife manufactured or sold for purposes of
           offense or defense, he shall be punished by a fine of not less
           than twenty-five nor more than one hundred dollars; and in
           addition thereto, shall forfeit to the County in which he is con-
           victed, the weapon or weapons so carried.
               SEC. 2.    The preceding article shall not apply to a per-
           son in actual service as a militiaman, nor as a peace officer
Case 1:22-cv-08300-VSB Document 39-12 Filed 10/14/22 Page 4 of 5
Case 8:21-cv-01736-TDC Document 95-29 Filed 09/06/23 Page 3 of 4



                               LAWS OF ARIZONA.                        17
        or policeman, or person summoned to his aid, nor to a rev-
        enue or other civil officer engaged in the discharge of offi-
        cial duty, nor to the carrying of arms on one's own prem-
        ises or place of business, nor to persons traveling, nor to
        one who has reasonable ground for fearing an unlawful at-
        tack upon his person, and the danger is so imminent and
        threatening as not to admit of the arrest of the party
        about to make such attack upon legal process.
            SEc. 3. If any person shall go into any church or relig-
        ious assembly, any school room, or other place where per-
        sons are assembled for amusement or for educational or
        scientific purposes, or into any circus, show or public ex-
        hibition of any kind, or into a ball room, social party or
        social gathering, or to any election precinct on the day or
        days of any election, where any portion of the people of
        this Territory are collected to vote at any election, or to
        any other place where people may be assembled to minister
        or to perform any other public duty, or to any other public
        assembly, and shall have or carry about his person a pistol
        or other firearm, dirk, dagger, slung shot, sword cane,
        spear, brass knuckles, bowie knife, or any other kind of a
        knife manufactured and sold for the purposes of offense or
        defense, he shall be punished by a fine not less than fifty
        nor more than five hundred dollars, and shall forfeit to the
        County the weapon or weapons so found on his person.
            SEC. 4. The preceding article shall not apply to peace
        officers, or other persons authorized or permitted by law to
        carry arms at the places therein designated.
            SEc. 5. Any person violating any of the provisions of
        Articles i and 3, may be arrested without warrant by any
        peace officer and carried before the nearest Justice of the
        Peace for trial; and any peace officer who shall fail or refuse to
        arrest such person on his own knowledge, or upon information
        from some credible person, shall be punished by a fine not ex-
        ceeding three hundred dollars.
            SEc. 6. Persons traveling may be permitted to carry arms
        within settlements or towns of the Territory for one-half hour
        after arriving in such settlements or town, and while going
        out of such towns or settlements; and Sheriffs and Constables
        of the various Counties of this Territory and their lawfully ap-
        pointed deputies may carry weapons in the legal discharge of
        the duties of their respective offices.
            SEC. 7. It shall be the duty of the keeper of each and
        every hotel, boarding house and drinking saloon, to keep
        posted up in a conspicuous place in his bar room, or reception
        room if there be no bar in the house, a plain notice to travel-
        ers to divest themselves of their weapons in accordance with
        Section 9 of this Act, and the Sheriffs of the various Counties
Case 1:22-cv-08300-VSB Document 39-12 Filed 10/14/22 Page 5 of 5
Case 8:21-cv-01736-TDC Document 95-29 Filed 09/06/23 Page 4 of 4



           18                    LAWS OF ARIZONA.

           shall notify the keepers of hotels, boarding houses.and drink-
           ing saloons in their respective Counties of their duties under
           this law, and if after suh notification any keeper of a hotel,
           boarding house or drinking saloon, shall fail to keep notices
           posted as required by this Act, he shall, on conviction thereof
           before a Justice of the Peace, be fined in the sum of five dol-
           lars to go to the County Treasury.
               SEc. 8. All Acts or parts of Acts in conflict with this Act
           are hereby repealed.
               SEc. 9. This Act shall take effect upon the first day of
           Apr 1, 1889.
                Approved March 18, 1889.


            No. 14.                   AN ACT
                      To Amend Paragraph 492, Revised Statutes.
            Be it Enacted by the Legislative Assembly of the Terrritory
                of Arizona:
                SECTION i. That Paragraph 492, Chapter 5, Title 13, of
            the R vised Statutes. be amended so as to read as follows: "If
            he fail to attend in person or by deputy any term of the Dis-
            trict Court. the Court may designate some other person to
            perform the duties of District Attorney during his absence from
            Court, who shall receive a reasonable compensation to be certi-
            fied by the Court, and paid out of the County Treasury, which
            the Court shall by order direct to be deducted from the salary
            of the District Attorney, if the absence of such Attorney is
            not excused by such Court."
                SEC. 2.    That all Acts and parts of Acts in conflict with
            this Act be, and the same are, hereby repealed.
                SEc. 3. That this Act shall take effect and be in force
            from and after its passage.
                Approved March i9, 1889.


            No. 15.                   AN ACT
            To Provide for the Payment of Boards of Supervisors of the
                     Counties within the Territory of Arizona.
            Be it Enacted by the Legislative Assembly of the Territory
                 of Arizona:
                SEcTioN i.    Each member of the Board of Supervisors
            within this Territory shall be allowed as compensation for their
            services Five Dollars per day for each dav's actual attendance
            at the sitting of said Board, at which sitting any County busi-
            ness is transacted; and twenty cents per mile actually traveled
